          Case 3:11-cr-03486-JAH                       Document 1403                   Filed 09/27/16            PageID.8464               Page 1 of
                                                                                 5

    ""AO 245B (CASD) (Rev.4!l4)
               Sheet 1
                                   Judgment m a Crimmal Case
                                                                                                                 FlLED
                                                                                                             16SEP21 Pftl2·,'
                                              UNITED STATES DISTRICT CR~~ sl~;~giccTAf\?~~JA
                                                  SOUTHERN DISTRICT OF CALIFORNiA' ~~'
                    UNITED STATES OF AMERICA                                         AMENDED JUJlGMENT IN A CRIMfNAL CASE
                                        v.                                           (For Offenses Committed On or After November 1, 1987)

                               Flora Espino -6                                       Case Number: ll-cr-03486-JAH-6
                                                                                     Kenneth J Troiano
                                                                                     Defendant's Attorney
    REGISTRATION NO, 06406051
    [81 Correction of Sentence for Clerical Mistake (conditions of release)
    THE DEFENDANT:
    D   pleaded guilty to count(s) _________________________________________________________

    [81 was found guilty on count(s)_F_ift_ee_n_o_f_t_h_e_I_n_d_ic_tm_e_nt_,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gui Ity,
          Accordingly. the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                              Number(s)
18:1623                                False Declarations Before a Grand Jury                                                               15




        The defendant is sentenced as provided in pages 2 through                5          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984,
 D The defendant has been found not guilty on count(s)
                                                       --------------------------------------------------
 D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is D are D dismissed on the motion ofthe United States.
 [81 Assessment: $100.00.


 [81 See fine page                                  D Forfeiture pursuant to order filed
                                                                                                   ------------                 , included herein,
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name. residence.
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid, If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                           ll-cr-03486-JAH-6
     Case 3:11-cr-03486-JAH                     Document 1403             Filed 09/27/16     PageID.8465           Page 2 of
                                                                    5

AO 2453 (CASD) (Rev. 4il4) Judgment in a Cnminal Case
           Sheet 2   Imprisonment

                                                                                            JIIdgmcnt   Page _ _2 _ of
 DEFENDANT: flora Espino -6
 CASE NUMBER: ll-cr-03486-JAH-6
                                                         IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to bc imprisoned for 11 term of
         Time served.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           [Jat _______________
                                                 Da.m.     [Jp.m.        on
               as notified by the United States Marshal.

    [J The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          [J before
                      ---------------------------------------------------------------------
          [J as notified by the United States Marshal.
          [J as notified by the Probation or Pretrial Services Office.


                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                  to

 at ______________________ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                    By
                                                                                      DEPUTY UJ-..1TED STATES MARSHAL




                                                                                                                ll-cr-03486-JAH-6
       Case 3:11-cr-03486-JAH                      Document 1403                Filed 09/27/16             PageID.8466              Page 3 of
                                                                            5

A024SB(CASD) (Rev. 4114) ludgmcntinaCriminalCase
         Sheet 3  Supervised Release
                                                                                                              Judgment- Plige   ~         of _ _.:.-5_ __
DEFENDANT: Flora Espino -6
CASE NUMBER: U-cr-03486-JAH-6
                                                          SUPERVISED RELEASE
Upon release from impri~onm(mt, the defendant shall be on supervised release for II term of:
Three years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994.­
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, ifappJicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tne requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides. works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestie violence. (Check, if applieable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement ofthe term of supervised release in accordance with the Sehedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shaH also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation offieer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shaH answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                    ll-cr-03486-JAH-6
     Case 3:11-cr-03486-JAH                  Document 1403               Filed 09/27/16           PageID.8467             Page 4 of
                                                                     5




      AO   (Rev. 9100) Judgment in a Criminal Case Sheet 3                                    Judgment~Page          of   ~
     - Continued 2 - Supervised Release

     Defendant: Flora Espino


     CASE NUMBER: 11-cr-03486-JAH-6

                                          SPECIAL CONDITIONS OF SUPERVISION


I.   Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

3. Submit your person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable
time and in a reasonable manner, based upon reasonable suspicion ofcontraband or evidence ofa violation ofa condition ofrelease; fai lure
to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
searches pursuant to this condition.

4. Provide complete disclosure of personal and business financial records to the probation officer as requested ..

5. Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including
any interest obtained under any other name, or entity, including a trust, partnership or corporation until the fine or restitution is paid in
full.

6. Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property owned, directly or
indirectly, including any interest held or owned under any other name, or entity, including a trust, partnership or corporation.

7. Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without
approval of the probation officer.

8. Be monitored for a period of at least three months, with GPS location monitoring technology as directed by the probation officer.
The offender shall abide by all technology requirements and shall pay 50% of the costs of participation in the location monitoring
program, as directed by the court andior the probation officer. In addition to other court-imposed conditions of release, the offender's
movement in the community shall be restricted as specified below:

9. You shall be on Home Detention for six months and you cannot leave your residence except for the following reasons:
Employment, medical issues regarding yourself and your younger child, your youngest child. Religious activities.
     Case 3:11-cr-03486-JAH                        Document 1403           Filed 09/27/16          PageID.8468            Page 5 of
                                                                       5




A0245S       Judgmcni in Crimiflill Case
             Sheet S - Crlmmal Monetary PeMlties

                                                                                                    Judgment ..- Puge           of
DEFENDANT: Flora Espino .6
CASE NUMBER: ll-cr-03486-J AH-6

                                                                     FINE

         The defendant shall pay a fine in the amount of _ _ _ _$_3,_0_00_._OO_ _ _ _unto the United States of America.




          This sum shall be paid __ immediately.
                                  )( as follows:


          Pay a fine in the amount of$3,000 through the Clerk, U. S. District Court. Payment of fine shall be forthwith. The
          defendant shall pay the fine during her supervised release at the rate of $200 per month. These payment schedules
          do not foreclose the United States from exercising all legal actions, remedies, and process available to it to collect
          the fine judgment at any time.

          Until fine has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's Office
          of any change in the defendant's mailing or residence address, no later than thirty (30) days after the change
          occurs.


          The Court has determined that the defendant does not          have the ability to pay interest. It is ordered that:

   ~ The interest requirement is waived.


           The interest is modified as follows:




                                                                                                    ll-cr-03486-JAH-6
